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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 22-CIV-61189-RAR

 DENISE PAYNE,

        Plaintiff,

 v.

 RETAIL WESTON PARTNERS, LLC,
 and FLANIGAN’S ENTERPRISES INC.,

       Defendants.
 _____________________________________/

                                   ORDER TO SHOW CAUSE

        THIS CAUSE comes before the Court upon sua sponte review of the docket. On June 22,

 2022, Plaintiff filed her Complaint [ECF No. 1]. Defendants were served on June 28, 2022 and

 June 29, 2022 respectively [ECF Nos. 5, 6]. Per Rule 12 of the Federal Rules of Civil Procedure,

 Defendants’ response or answer to Plaintiff’s Complaint was due on or before July 19, 2022. FED.

 R. CIV. P. 12(a)(1)(A)(i). To date, there is no indication that Defendants have filed a response or

 answers, nor have Defendants requested an extension of time to do so. Accordingly, it is hereby

        ORDERED AND ADJUDGED that Defendants shall submit a single combined

 response or separate answers to Plaintiff’s Complaint on or before July 29, 2022. Failure to do

 so will result in the entry of default against Defendant without further notice.

        DONE AND ORDERED in Fort Lauderdale, Florida this 26th day of July, 2022.




                                                          _________________________________
                                                          RODOLFO A. RUIZ II
                                                          UNITED STATES DISTRICT JUDGE
